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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

BRYAN BRIDGES,                                 )
                                               )
              Plaintiff,                       )
                                               )
v.                                             ) Case No. 1:24-CV-14-SNLJ
                                               )
CAROLYN COLVIN,                                )
Acting Commissioner of the Social              )
Security Administration,                       )
                                               )
              Defendant.                       )

                             MEMORANDUM AND ORDER

       This matter is before the Court on plaintiff’s motion for attorney’s fees [Doc. 22].

Defendant filed a response [Doc. 23]. This Court reversed the Commissioner’s decision

in an Order and Memorandum dated September 29, 2021. Plaintiff now comes pursuant

to the Equal Access to Justice Act, 28 U.S.C. §2412 and requests that this Court award

her attorney’s fees and expenses in the amount of $5,010.00 to be paid to plaintiff’s

attorney. The defendant has no objections to payment of the amount requested. Plaintiff

has signed an assignment of EAJA fees in this case. However, defendant requests that

the Court enter an order awarding the attorney’s fees to plaintiff rather than plaintiff’s

attorney in accordance with Astrue v. Ratliff, 130 S.Ct. 2521 (2010), which held that

EAJA fees are subject to offset to satisfy any pre-existing debt that the litigant owes to

the United States. Defendant will verify whether plaintiff owes a debt to the United

States, and, subject to any preexisting debt, the fee will be made payable to plaintiff’s



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attorney. This Court finds that there are no circumstances in this case that would make an

award under the EAJA unwarranted.

       Accordingly,

       IT IS HEREBY ORDERED the plaintiff is awarded attorney’s fees in the

amount of $5,010.00 to be paid by the Social Security Administration.

       IT IS FURTHER ORDERED that defendant shall pay attorney’s fees in the

amount of $5,010.00, paid directly to plaintiff’s attorney, Jennifer Van Fossan, subject to

any pre-existing debt that the plaintiff owes to the United States. Payment shall be

mailed to plaintiff’s attorney, Jennifer M. Van Fossan, 211 N. Broadway, Suite 2400, St.

Louis, MO 63102.



       Dated this 17th day of January, 2025.



                                                 STEPHEN N. LIMBAUGH, JR.
                                                 SENIOR UNITED STATES DISTRICT JUDGE




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